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                  UNITED STATES DISTRICT COURT
                       DISTRICT OF OREGON
                       PORTLAND DIVISION
UNITED STATES OF AMERICA                                                       3:13-CR-00557-SI

               v.                                           GOVERNMENT’S EXHIBIT LIST

STEVEN DOUGLAS ROCKETT,

               Defendant.


       The United States of America, by Billy J. Williams, United States Attorney for the

District of Oregon, Paul T. Maloney, Special Assistant United States Attorney, and Gary Y.

Sussman, Assistant United States Attorney, submits the following exhibit list for trial:

Exhibit                                   Description
Number
  1     Photo from Golden Peak Hotel with Notations by Christine Jumoa-as Rockett

   2       Facebook Communications from Defendant to NS (11 pages)

   3       Facebook Communications from Defendant to MG (6 pages)

   4       Facebook Communications from Defendant to Charis Jumoa-as (39 pages)

   5       Sanitized photos used for victim identification in Cebu City (23 photos)

   6       Photos from Cebu City (11 photos)



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  7     Screen captures of Defendant’s Facebook messages to NS (10 photos)

  8     Photos from Search Warrant Executions at defendant’s 933 Goff Rd, Forest Grove,
        Oregon (27 photos)
  9     Passports (two passport books)

  10    Contraband Images recovered from devices analyzed by NWRCFL (to be submitted
        separately and under seal). Disc containing media files
        From Exh 11:
            33828698KUx.jpg
            33828735XLz.jpg
            (hotel.jpg)
            H-m.jpg
            Set-dupla.jpg
            Set-enza&marzia.jpg
            set-funwithgrandma.jpg
            set-maskgirl.jpg
            set-private_russian.jpg
            set-sexygreenshirt.jpg
            sucky.jpg
              179e295e6f88e5386bce85ee37f503db.png
              11eb45cb158cc0acbef39ba306e991ab.png
              2b05abb7b59a506a9dfa98210d087eb8.png

        From Exh 12:
            Embedded 1860 in _CACHE_003_.jpg
            Embedded 1861 in _CACHE_003_.jpg
            Embedded 1865 in _CACHE_003_.jpg
            00f4d0af_4993_2729.M2V
            535a74b0_0_1075.DIF
            6564f2f5_0_13235.DIF

        From Exh. 13:
            edited stills.mov

        From Exh 14:
            1-3-2000.mov
            1-13-2000.mov
  11    Office Computer

  12    Livingroom Computer

  13    Bathroom Camera, wall cutting, wiring, DVR with SD card and remote control




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  14    Sony Dream Machine Alarm clock with after-market camera and SD card

  15    Photos of hard drive(s) from Exh. 11

  16    Photos of hard drives from Exh. 12

  17    Photos of SD card from Exh 13

  18    Photos of SD card from Exh 14

  19    Pinnacle Studios software (2 boxes with product materials)

  20    Sanitized images used for victim identification of BS and DS from videos recovered
        from Exh 12
  21    External drives connected to Exh. 11(2 external hard drives)

  22    Screen Captures from Exh 11(22 photos)

  23    Emails recovered from Exh 11

  24    CARES Northwest recording of interview with NS (video recording)

  25    Photos from bathroom at 7539 SW 179th Place, Aloha, Oregon (6 photos)

  26    Certified copy of conviction in Washington County Circuit Court No. C131929CR

  27    Victim Identification photos from the Philippines (8 photos)

  28    **Reserved for Certificate of Manufacture from Dell Computers – When received
        from Dell




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The Government reserves the right to offer amend this list and offer additional exhibits during

trial.



DATED this 2nd day of May 2016.

                                                    Respectfully Submitted,


                                                    BILLY J. WILLIAMS
                                                    United States Attorney
                                                    District of Oregon


                                                           /s/ Paul T. Maloney
                                                    Paul T. Maloney, OSB#013366
                                                    Assistant United States Attorney


                                                           /s/ Gary Y. Sussman
                                                    Gary Y. Sussman
                                                    Assistant United States Attorney




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